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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                      Western Division

   UNITED STATES OF AMERICA

   -vs-                                                                            Case No. 09mj076

   ANIBAL FIGUERDO-DIAZ


                          ORDER FOR INTERPRETER'S SERVICES

          On finding that the services of an interpreter are necessary for interpreting judicial

   proceedings herein it is, in accordance with the Court Interpreter's Act,

          ORDERED that an appointed interpreter shall serve at all further judicial proceedings

   before the Court in this case, with leave to submit claim for compensation therefor at the conclusion

   of the case on forms provided by the Clerk in accordance with the Act and regulations promulgated

   thereunder.

          DONE and ORDERED this 6th day of November, 2009.



                                                             s/ Charmiane G. Claxton
                                                           CHARMIANE G. CLAXTON
                                                          UNITED STATES MAGISTRATE JUDGE

   Copies furnished to:

   United States Attorney
   United States Marshal
   Pretrial Services Office
   Assistant Federal Public Defender
   Counsel for Defendant
   Financial Unit
